     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 1 of 20



        CENTER FOR DISABILITY ACCESS
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 7
 8
 9                             UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA

11
        Andres Gomez,                             Case: 3:21-cv-07147-WHA
12
                 Plaintiff,
13                                                Plaintiff’s Opposition to Motion
          v.                                      to Dismiss
14
        Decker Bullock Dreyfus Inc., A            Date     February 10, 2022
15      California                                Time     8:00 a.m.
16      Corporation; Gates Estates, Inc.;         Ctrm     12, 19th Fl.
        ; and Does 1-10,
17                                                The Honorable Judge William Alsup
18               Defendant.

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      Oppo to MTD                                             3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 2 of 20




 1
                                         I. Nexus.
 2
            Defendant claims that Plaintiff did not allege a nexus between
 3
      Defendant’s website and a place of public accommodation. However,
 4
      Plaintiff has alleged just that. “The Website is a nexus between Decker
 5
      Bullock Dreyfus Inc. customers and the terrestrial based privileges, goods
 6
      or services offered by “Decker Bullock Dreyfus Inc” Complaint, Dkt. 1, para.
 7
      16. Plaintiff further alleges: “Decker Bullock Dreyfus Inc”. offers websites
 8
      and digital booking as some of the facilities, privileges, and advantages
 9
      offered by Defendants to patrons of the Real Estate in connection with their
10
      patronage at the Real Estate, Complaint, Dkt. 1, para. 14. Plaintiff alleges
11
      that he went to the site as a prospective customer, intent get information
12
      about houses on sale in Northern California. Complaint, Dkt. 1, paras. 17-
13
      18.   Finally, Plaintiff pleads that when he attempted to navigate the
14
      Website, he encountered numerous accessibility design faults that
15
      prevented him from navigating the site successfully using SRS. This caused
16
      Plaintiff to experience difficulty and confusion navigating the numerous
17
      inaccessible elements. As a result of this inaccessibility, he was unable to
18
      understand the content and was deterred from further use of the Website.
19
      Complaint, Dkt. 1, paras. 20-21.
20
            This more than satisfies the pleading standard to achieve standing.
21
      In Robles v. Domino’s Pizza, LLC 913 F.3d 898 (9th Cir. 2019), the Court
22
      rejected the argument that websites are not governed by the ADA, and held
23
      the ADA “applies to the services of a place of public accommodation, not
24
      services in a place of public accommodation. To limit the ADA to
25
      discrimination in the provision of services occurring on the premises of a
26
      public accommodation would contradict the plain language of the
27
      statute.”Id. at 905. The Court also held that the inaccessibility of Domino’s
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      Oppo to MTD                                       3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 3 of 20




 1    website impedes the access of goods and services provided by the chain. Id.
 2    at 905.
 3          The nexus between the website and the service Defendant provides
 4    is critical. Here, the website appears to be an advertisement for its services
 5    and it allows persons to gather information about the services provided.
 6    The website steers business to the Defendant.
 7
 8          Domino's website and app facilitate access to the goods and
            services of a place of public accommodation—Domino's
 9          physical restaurants. They are two of the primary (and heavily
10          advertised) means of ordering Domino's products to be picked
            up at or delivered from Domino's restaurants. We agree with the
11          district court in this case—and the many other district courts
12          that have confronted this issue in similar contexts—that the
            ADA applies to Domino's website and app, which connect
13
            customers to the goods and services of Domino's physical
14          restaurants.
15
      Id. at 905-906. The result should be no different here. The services that
16
      Defendant promotes and advertises are performed at physical locations
17
      that are owned and operated by Defendant. The main way to access
18
      Defendant’s services is via its website.
19
            Congress enacted the ADA “to provide a clear and comprehensive
20
      national mandate for the elimination of discrimination against individuals
21
      with disabilities.” 42 U.S.C. § 12101(b)(1). Pursuant to Title III of the ADA,
22
      “[n]o individual shall be discriminated against on the basis of disability in
23
      the full and equal enjoyment of the goods, services, facilities, privileges,
24
      advantages, or accommodation of any place of public accommodation by any
25
      person who owns, leases (or leases to), or operates a place of public
26
      accommodation.” 42 U.S.C. § 12182(a).
27
28

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      Oppo to MTD                                       3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 4 of 20




 1           The Ninth Circuit has explained that the phrase “place of public
 2    accommodation” refers to a “physical place.” Weyer v. Twentieth Century Fox
 3    Film Corp., 198 F.3d 1104, 1114 (9th Cir. 2000). However, “[t]he
 4    requirement     that   a   place    of        public   accommodation   refer   to
 5    a physical place...does not preclude a plaintiff from challenging a business'
 6    online offerings.” Reed v. CVS Pharmacy, Inc., 17-CV-3877, 2017 WL
 7    4457508, at *3 (C.D. Cal. Oct. 3, 2017). “So long as there is a ‘nexus’ - that is,
 8    ‘some connection between the good or service complained of and an
 9    actual physical place’ - a plaintiff may challenge the digital offerings of an
10    otherwise physical business.” Id. (citing Weyer, 198 F.3d at 1114). In other
11    words, the ADA “applies to the services of a place of public accommodation,
12    not service in a place of public accommodation. To limit the ADA to
13    discrimination in the provision of services occurring on the premises of a
14    public accommodation would contradict the plain language of the
15    statute.” Id. (emphasis in original) (citing Nat'l Fed'n of the Blind v. Target
16    Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)). This construction was also
17    adopted by the Ninth Circuit in Robles. The Department of Justice has
18    “repeatedly affirmed that Title III [of the ADA] applies to websites that meet
19    the definition of public accommodation.” Gorecki v. Hobby Lobby Stores, Inc.,
20    17-CV-1131, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017).
21           Courts have distinguished between websites that purely have an
22    online presence, such as Facebook or Twitter, and businesses such as the
23    one that is the subject of this matter.
24
25           While the Court acknowledges that a website in and of itself
             is not a place of public accommodation under the ADA, the
26           Ninth Circuit has distinguished between a stand alone
27           website, and a website that has a nexus to
             a physical location. For example, Defendant cites to Young v.
28
             Facebook, Inc., 790 F. Supp. 2d 1110, 1115, (N.D. Cal. 2011)
                                                3
      Oppo to MTD                                             3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 5 of 20




 1          for its argument that Defendant’s website is not subject to
            the ADA. However, in Young, the court held that “Facebook
 2          operates only in cyberspace, and thus is not a ‘place of public
 3          accommodation’ as construed by the Ninth Circuit.” Id. at
            1114. The court noted that “[w]hile Facebook's headquarters
 4
            is obviously a physical space, it is not a place where the online
 5          services to which Young claims she was denied access are
 6          offered to the public.” Id. This is distinguishable from the
            situation here, where Plaintiffs have demonstrated a nexus
 7          between the alleged discrimination on Defendant's website
 8          and Defendant's physical place of public accommodation.
            Under this framework, the Court finds that Title III of
 9          the ADA applies          to          Defendant's         website.
10
      Haggar v. Ashley Furniture Indus., Inc., No. LACV1901266 PAJCX, 2019 WL
11
      8886026, at *3 (C.D. Cal. Dec. 12, 2019).
12
13          Here, Plaintiff clearly pleads a nexus to a physical location. He pleads
14    that the real estate agency is a “brick and mortar” facility, and that the
15    website offers information about the various services offered. The ADA
16    simply requires that a business provide auxiliary aids to ensure effective
17    communication with the disabled.
18
19          “Discrimination” under the ADA encompasses the denial of
            the opportunity, by the disabled, to participate in programs or
20          services, and providing the disabled with separate, but
21          unequal, goods or services. See 42 U.S.C. § 12182(b)(1)(A)(i-
            iii). To ensure that the disabled have full and equal enjoyment
22          of the goods and services of places of public accommodation,
23          the ADA requires “reasonable modification” of “policies,
            practices, and procedures,” the provision of auxiliary aids to
24
            ensure effective communication with the disabled, and the
25          removal of architectural and communications barriers. 42
26          U.S.C. § 12182(b)(2)(A)(ii-iv). The ADA thus departs from
            certain anti-discrimination statutes in requiring that places of
27          public accommodation take affirmative steps to
28          accommodate                       the                  disabled.

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      Oppo to MTD                                       3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 6 of 20




 1    Nat'l Fed'n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 951 (N.D. Cal.
      2006).
 2
 3          In this day and age, when virtually every business has an online
 4    presence, does it make sense that Defendant would be able to offer an
 5    inaccessible website to the public?
 6           Defendant argues that the ADA does not cover a website unless the
 7    website itself allows a person to purchase goods or services. This is not the
 8    law. The Robles case specifically did not rule on that point: “We need not
 9    decide whether the ADA covers the websites or apps of a physical place of
10    public accommodation where their inaccessibility does not impede access
11    to the goods and services of a physical location.” Robles v. Domino's Pizza,
12    LLC, 913 F.3d 898, 905 (9th Cir.), cert. denied, (2019).
13
14        II.THE WEBSITE IS A PLACE OF PUBLIC ACCOMMODATION AND
               INDEPENDENTLY COVERED BY THE AMERICANS WITH
15                              DISABILITIES ACT
16           Defendant’s website clearly provides a benefit to its customers. The
17    website is informational and intended to advertise its business. While
18    Defendant dismissively suggests that these are not sufficient to require
19    them to be made accessible, this plainly fails the standards set by the ADA.
20    The question is not whether Mr. Gomez can establish that Defendants
21    conduct all of their business in their Brick-and-Mortar office – a Real Estate
22    Agency naturally does not do this as they are often out at showings, etc. -
23    but merely if the website is one of the “goods, services, facilities, privileges,
24    advantages, or accommodations” of a place of public accommodation. 42
25    U.S.C. § 12182(a).
26           The defense argues that Plaintiff’s claims fail because his Complaint
27
      (1) does not establish a connection between the Website and a physical
28
      location, and (2) does not plead a “deterrence” or “intent to return” to the
                                             5
      Oppo to MTD                                         3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 7 of 20




 1    physical location.1 However, each of Defendant’s arguments fail for several
 2    reasons. Additionally, Plaintiff can simply amend the complaint to cure any
 3    defects, should this court find this necessary.
 4
 5    A.Contrary to Defendant’s suggestion, California does not require a
 6                   “nexus” to a physical brick and mortar facility.
 7           No California Court of Appeal has rejected the application of the ADA
 8    to a case involving a website. To the contrary, each published decision on
 9    the topic has found the ADA to apply and declined to answer hypotheticals
10    outside the question before the court. In Thurston v. Midvale, 39
11    Cal.App.5th 634 (2019), the Cal. Court of Appeal recognized a three-way
12    split between the various federal circuits. Rejecting the narrowest view
13    that no website services are covered, it found that as a service of a place of
14    public accommodation, the site was covered. Id. at 644. The court did not
15    decide whether a website disconnected from a physical place would be
16    covered. “[W]e need not consider the wholly hypothetical question
17    whether Title III of the ADA governs a website unconnected to a physical
18    place of public accommodation offering purely Internet-based services or
19    products.” Ibid. Defendant cites to another subsequent decision, SDCCU, to
20    assert the Court of Appeal has taken a position on this issue. This is
21    inaccurate. SDCCU also discussed the various approaches that have been
22    taken with respect to the ADA and websites, sorting them from the most
23    restrictive to the broadest applications of the law. Martinez v. San Diego
24    County Credit Union, 50 Cal.App.5th 1048, 1062 (2020).
25           This time, the does not even consider that websites might not be
26    covered by the ADA. SDCCU, like the court in Midvale, applied the facts and
27    only reached a holding necessary to resolve the case, finding that there was
28
      1   Def. Memorandum., pp. 9-13.
                                            6
      Oppo to MTD                                       3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 8 of 20




 1    a nexus between the website and the physical place. However, the court did
 2    not establish a nexus was required. Id. at 617. Explicitly rejecting this
 3    conclusion, the court explains “we do not reach the legal issue whether the
 4    ADA applies to websites even without a nexus to a physical place.” Ibid.
 5          Contrary to Defendant’s suggestion, the application of the ADA to
 6    websites is an explicitly open question in California and trial courts
 7    interpreting the question have found in favor of plaintiffs on this issue.
 8
     1.The internet is an accessibility tool
 9
             When most people hear the phrase “ADA” it evokes the “International
10
      Symbol of Accessibility.”
11
12
13
14
15
16
17                                  Figure 1- The ISA logo,
                                    depicting a stick figure using a
18                                  wheelchair has been in use since
                                    1968.
19
20           This image, depicting a stick figure representation of a human being
21    using a wheelchair, is the literal visual representation of “accessibility.” This
22    public perception that the ADA is about mobility feeds into one frequent
23    criticism that the ADA over-focuses on mobility disabilities and that other,
24    less visible, disabilities are left excluded. The web is no exception to this.
25    Aside from the wheelchair itself, the internet is likely the greatest
26    accessibility tool to those will mobility limitations in existence. Giving
27    access to markets and information without the need to leave home, the
28    internet is a life changer.

                                                   7
       Oppo to MTD                                                     3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 9 of 20



            "People with disabilities have found the internet a real boost
 1          because it helps to make life easier by providing online access
            to services such as banking and food shopping, and also gives
 2          them the ability to network with other people who are in the
            same situation as themselves," he says. "Isolation can be an
 3          issue, but the advent of support groups means people can join
            an online community from the comfort of their own home." –
 4          Alex Barker2
 5          "To have an opportunity to communicate with others,
            research information and find entertainment, all from the
 6          comfort of your home, makes the internet a true blessing for
            those with physical limitations," – Jay Cohen, founder of
 7          www.disabledonline.com3
 8
            It’s a game changer, that is, assuming you can use it fully. For those
 9
      without the ability to see, the limitless access to information becomes a
10
      barrier itself unless attention is paid to the screen readers. Similarly, for
11
      those with hearing disabilities, like Langer, the virtually limitless pool of
12
      information is limited. The fastest emerging information mediums online
13
      include Youtube and TikTok. What used to exist in written blogs now are
14
      frequently moved to video instructionals. Without closed captioning, those
15
      that previously relied on the internet for access to information find
16
      themselves cut off.
17
            Excluding the internet from the ADA not only undermines the
18
      intention of the law to include all people within the economy, but also
19
      undermines the internet itself as a bastion of democratized information by
20
      limiting only to those able to access it. In 2016, the United Nations passed
21
      a resolution recognizing that internet access is a human right.4 But in
22
      California in 2021, we’re still arguing whether or not people with
23
      disabilities deserve access to those rights.
24
25
26    2 https://www.techradar.com/news/internet/how-the-web-is-improving-the-
              lives-of-disabled-computer-users-684644.
27    3 Id.
      4 General Assembly Resolution 38, The promotion, protection and enjoyment of
28
              human rights on the Internet A/HRC/38/L.10/Rev.1 (4 July 2018)
                                              8
       Oppo to MTD                                       3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 10 of 20




 1    2.The ADA applies to websites that interact with interstate commerce.
 2          “Congress enacted the ADA in 1990 to remedy widespread
 3    discrimination against disabled individuals.” PGA Tour, Inc. v. Martin, 532
 4    U.S. 661, 674 (2001). As remedial legislation, the Supreme Court instructs
 5    that it must be construed broadly to effectuate its purpose. Tcherepnin v.
 6    Knight, 389 U.S. 332, 336 (1967); Fortyune v. City of Lomita, 766 F.3d 1098,
 7    1101 (9th Cir. 2014). The view advanced by the Defendant dates back to
 8    the year 2000. Weyer v. Twentieth Century Fox Film Corp., 198 F.3d 1104
 9    (9th Cir. 2000). In the year 2000, the internet as we know it today simply
10    did not exist. Ecommerce was in its infancy. Netflix was a mail-order disc
11    exchange. Amazon had not yet posted a profit. Mark Zuckerberg was in high
12    school. Peanuts was still in in daily circulation in print newspapers. Mobile
13    phones had just started to take off as a mainstream consumer device, and
14    the iPhone — or smartphones of any kind — didn’t exist yet.
15          Put simply, the world that the Ninth Circuit was evaluating with
16    respect to the ADA in 2000 had more in common with the VCR than it does
17    the economy that exists today. This is important, because one of the phrases
18    that was being interpreted in the statute was whether or not the operations
19    of an entity “affect commerce.” 42 U.S.C. § 12181(7). What it meant to be a
20    digital “place” was effectively a nonsensical question. In 2000, Weyer took
21    a conservative approach to the issue, but the reality of that case was that
22    the website wasn’t the type of entities included in § 12182(7)(A)-(L). It was
23    an employee benefits program offered from an employer. Weyer, supra, 198
24    F.3d 1104. By contrast, a public facing business, such as a landscaping
25    company, is undoubtedly a “service establishment” specifically enumerated
26    by the statute. 42 U.S.C. § 12181(7)(F).
27          The DOJ has taken the position that the ADA applies to the Internet
28    and web-based goods and service providers. Justice Department Reaches

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       Oppo to MTD                                      3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 11 of 20




 1    Settlement with edX Inc., Provider of Massive Open Online Courses, to Make
 2    its Website, Online Platform and Mobile Applications Accessible Under the
 3    Americans with Disabilities Act, DEPT. JUST.: OFF. PUB. AFF. (Apr. 2, 2015),
 4    http://www.justice.gov/opa/pr/justice-department-reaches-settlement-
 5    edx-inc-provider-massive-open-online-courses-make-its
 6    [https://perma.cc/AGU6-V3YZ].5
 7           See, e.g., Letter from Deval L. Patrick, Assistant Att'y Gen., to Senator
 8    Tom Harkin (Sept. 9, 1996) (“Covered entities under the ADA are required
 9    to provide effective communication, regardless of whether they
10    generally    communicate        through     print   media,     audio    media,     or
11    computerized          media       such      as      the      Internet.”)(emphasis
12    added); Applicability of the Americans with Disabilities Act (ADA) to Private
13    Internet Sites: Hearing before the House Subcommittee on the Constitution of
14    the House Committee on the Judiciary, 106th Cong., 2d Sess. 65–010 (2000)
15    (“It is the opinion of the Department of Justice currently that the
16    accessibility requirements of the Americans with Disabilities Act already
17    apply to private Internet Web sites and services.”)(emphasis added); 75
18    Fed.Reg. 43460–01 (July 6, 2010) (“The Department believes that title III
19    reaches the Web sites of entities that provide goods or services that fall
20    within the 12 categories of ‘public accommodations,’ as defined by the
21    statute and regulations.”).
22           As seen above, Congress considered amending the ADA to include
23    websites and determined it wasn’t necessary, as the original law was
24    expected to keep pace with technology. H.R. Rep. 101–485(II), at 108, 1990
25
26    5 The settlement required edX to modify its website, platform, and mobile
             applications to conform to Web Content Accessibility Guidelines (WCAG)
27           2.0 AA, industry guidelines for making web content accessible to users
28           with disabilities. Id. For a discussion of the guidelines, see infra notes 85-
             106 and accompanying text.
                                                10
       Oppo to MTD                                            3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 12 of 20




 1    U.S.C.C.A.N. 303, 391 (1990) (“[T]he Committee intends that the types of
 2    accommodation and services provided to individuals with disabilities ...
 3    should keep pace with the rapidly changing technology of the times.”); H.R.
 4    Rep. 101–485(II), at 100, 1990 U.S.C.C.A.N. 303, 383 (1990)( “The
 5    Committee intends that the ‘other similar’ terminology should be
 6    construed liberally, consistent with the intent of the legislation that people
 7    with disabilities should have equal access to the array of establishments
 8    that are available to others who do not currently have disabilities.”).
 9           Specifically, the original legislative history report notes that an
10    important area of concern is information exchange and although there
11    were “still substantial barriers,” that “great strides are being made.” Id;
12    Nat'l Fed'n of the Blind v. Scribd Inc., 97 F. Supp. 3d 565, 574 (D. Vt. 2015).
13    “It seems likely that making websites [compliant] is the kind of advanced
14    technology Congress was envisioning.” Ibid.
15
           3.The Ninth Circuit “nexus test” is under significant criticism.
16
             As this case is pending in the Superior Court, it is under no obligation
17
      to defer to the Ninth Circuit interpretation of the ADA. Other courts
18
      evaluating the Ninth Circuit Weyer interpretation have not treated it kindly,
19
      and it is unlikely that the decision will continue to age any more gracefully
20
      than it has. Indeed, given the multiple competing interpretations, and the
21
      serious doubt as to the long-term value of the Ninth Circuit approach,
22
      following it is not rational to defer to it when it conflicts with California’s
23
      individual interest in being at the vanguard of civil rights, given the
24
      presence of more appropriate interpretations that provide for protecting
25
      civil rights.
26
             “In a society in which business is increasingly conducted online,
27
      excluding businesses that sell services through the Internet from the ADA
28

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       Oppo to MTD                                       3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 13 of 20




 1    would run afoul of the purposes of the ADA and would severely frustrate
 2    Congress's intent that individuals with disabilities fully enjoy the goods,
 3    services, privileges and advantages, available indiscriminately to other
 4    members of the general public.” Nat'l Ass'n of the Deaf v. Netflix, Inc., 869 F.
 5    Supp. 2d 196, 200 (D. Mass. 2012) quoting Carparts Distribution Center, Inc.
 6    v. Automotive Wholesaler’s Ass’n of New England, Inc.¸37 F.3d 12, 20 (1994).
 7           As Representative Nadler put it, when the ADA was enacted:
 8           [W]e were not communicating by e-mail, blog, or tweet; we
             were not filling virtual shopping carts with clothes, books,
 9           music, and food; we weren't banking, renewing our driver's
             licenses, paying taxes or registering for and taking classes
10           online. Congress could not have foreseen these advances in
             technology. Despite Congress' great cognitive powers, it could
11           not have foreseen these advances in technology which are
             now an integral part of our daily lives. Yet Congress
12           understood that the world around us would change and
             believed that the nondiscrimination mandate contained in the
13           ADA should be broad and flexible enough to keep pace.
14
             Achieving the Promises of the Americans with Disabilities Act in the
15
      Digital Age—Current Issues, Challenges and Opportunities: Hearing before
16
      the H. Subcomm. on the Constitution, Civil Rights, and Civil Liberties of the
17
      House Comm. on the Judiciary, 111th Cong., 2d Sess. 111–95 (2010).
18
             One District Court in the First Circuit, calling the approach “absurd”
19
      that business, such as a landscaper that provides services at individual
20
      homes would not be covered under the “nexus” test rejected the argument:
21
             ADA covers the services ‘of’ a public accommodation, not
22           services “at” or “in” a public accommodation. 42 U.S.C. §
             12182(a). This distinction is crucial. Consequently, while the
23           home is not itself a place of public accommodation, entities
             that provide services in the home may qualify as place of
24           public accommodation. Under Defendant's reading of the
             statute, many businesses that provide services to a customer's
25           home—such as plumbers, pizza delivery services, or moving
             companies—would be exempt from the ADA. The First Circuit
26           held in Carparts that such an interpretation is absurd. Under
             the Carparts decision, the Watch Instantly web site is a place of
27           public accommodation and Defendant may not discriminate in
             the provision of the services of that public accommodation—
28

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       Oppo to MTD                                        3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 14 of 20



            streaming video—even if those services are accessed exclusively
 1          in the home.
 2
            Mail order businesses being covered by the ADA is the law of the land
 3
      in the First Circuit and has been since as early as 1994. Carparts
 4
      Distribution Center., Inc. v. Automotive Wholesaler’s Ass’n of New England,
 5
      Inc., 37 F.3d. 12, 19-20 (1st Cir. 1994). The Seventh Circuit also follows this
 6
      sensible approach. Doe v. Mutual of Omaha Ins. Co., 179 F.3d 557, 559 (7th
 7
      Cir. 1999). The Second Circuit similarly agrees. Pallozzi v. Allstate Life Ins.
 8
      Co., 198 F.3d 28 (2d Cir. 1999).
 9
            At the end of the day, the parties are asking this court to take a
10
      position on whether an explicitly discriminatory practice is protected by
11
      the law. The law provides a provision to allow the practice to be prohibited,
12
      but the Defendant asks this court to read it narrowly to allow
13
      discrimination. With virtually endless support, and the specter of history
14
      looking back on these other decisions, this court should decline.
15
         4.California, a leader in technology and the crucible for internet
16              innovation, must protect the rights of all its citizens.
17         California courts have found no difficulty applying equal access
18    standards to internet services. Martinez v. Kydia, MCC1900691 (December
19    9, 2019)(Minute Order Denying Motion to Dismiss in case based on
20    internet based business, citing to Thurston and explicitly rejecting Robles);
21    White v. Square, Inc., 7 Cal.5th 1019, 1027 (2019)(plaintiff alleging denial
22    of equal access by a website has standing to sue internet-based business).
23          The internet economy as we know it calls California home. Silicon
24    Valley is the birthplace of technological innovation. From the electric
25    wheelchair to hearing aids, vaccines, and more, technology has been a boon
26    to those with disabilities, providing access to places, people and things that
27    would have excluded them previously. As noted above, the internet itself is
28    an amazing accessibility tool for those that can use it. However, an

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       Oppo to MTD                                       3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 15 of 20




 1    interpretation of equal access that excludes the fastest growing avenue of
 2    access to information and the economy to those with disabilities runs
 3    counter to the promise of technology improving access.
 4           California cannot simultaneously maintain its position at the
 5    vanguard of civil rights guarantees in the country, while courting
 6    technology promising to usher us into a modern renaissance unless those
 7    technologies are inclusive of all its citizens. The ADA is written in a way,
 8    and with a stated intent, that intended to keep up with technology. The
 9    courts of California should not interpret it narrowly, in violation of a
10    Supreme Court mandate that remedial statutes be interpreted broadly, and
11    in contravention of California’s own stated intention to be on the forefront
12    of civil rights.
13
14 B.Even under the narrower view, the website is a nexus to Defendant’s
15                               terrestrial business.
16           Notwithstanding the above, Plaintiff’s Complaint does address the
17    “nexus” requirement in Weyer and Robles. In Weyer and Robles, the Ninth
18    Circuit held that there must be “some connection between the good or
19    service complained of and an actual physical place.” For example, in Robles,
20    the court found that “Domino's website and app facilitate access to the
21    goods and services of a place of public accommodation—Domino's physical
22    restaurants.” Robles v. Domino's Pizza, LLC, 913 F.3d at 905. Therefore, “the
23    ADA applies to Domino's website and app, which connect customers to
24
      [Domino’s] goods and services.” Id. at 905-906. The “nexus” test does not
25
      ask if the website is itself an independent public accommodation that is
26
      also attached to a physical place of public accommodation. Robles
27
      recognizes that all services of a place of public accommodation must be
28
      compliant, and if a website is a service of that covered place, it must be
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       Oppo to MTD                                       3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 16 of 20




 1    compliant as well. Id. at 905. The nexus test is simply a test of whether the
 2    website is such a service.
 3            Robles did not contain a subjective qualifier. A nexus exists or it does
 4    not. There is no question that all terrestrial business must comply with the
 5    ADA. The entire point of the “nexus test” is to decide whether the website
 6    is one of the “goods, services, facilities, privileges, advantages, or
 7    accommodations” of a place of public accommodation. 42 U.S.C. §
 8    12182(a); Robles, 913 F.3d 898 at 906. Here, Defendants do maintain a
 9    terrestrial business, and the website is one of its covered benefits:
10       -    Defendants do offer terrestrial services.
11       -    Defendants do conduct business out of the physical place.
12
         -    The website does allow customers to obtain information about those
13
              terrestrial services.
14
             Defendant claims that plaintiff’s ADA claim squarely fails because
15
      Defendant has no physical place of public accommodation is false. Not only
16
      does Defendant maintain a physical office at the address listed on their
17
      website, but they conduct business in the field, like any realtor would. This
18
      does not weaken Plaintiff’s nexus argument in any way. The Napa Home
19
      Team is a place of public accommodation, and their website is one of the
20
      services, facilities, advantages, privileges or accommodation of that
21
      business by facilitates access to Defendant’s physical business and
22
      services.
23
24    I. THE DEFENDANTS’ JURISDICTIONAL CHALLENGE
             IS INAPPROPRIATE AS A 12(B)(1) MOTION
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           “There is an important difference between Rule 12(b)(1) motions
26
      attacking the complaint on its face and those that rely on extrinsic
27
      evidence. In ruling on the former, courts must accept the allegations of the
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       Oppo to MTD                                        3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 17 of 20




 1    complaint as true.” Kohler v. CJP, Ltd., 818 F. Supp. 2d 1169, 1172 (C.D.
 2    Cal. 2011).
 3           Here, the defense has moved for dismissal on the basis that the court
 4    lacks subject matter jurisdiction. Dismissal for lack of subject matter
 5    jurisdiction in a case premised on federal-question jurisdiction is
 6    “exceptional.” Sun Valley Gasoline, Inc. v. Ernst Enter., Inc., 711 F.2d 138,
 7    140 (9th Cir. 1983).
 8           The defense motion to dismiss for lack of jurisdiction is based
 9    entirely on the claim that the defendants’ website has always complied
10    with the ADA, or is not subject to the ADA, and, therefore, there is nothing
11    for the court to enjoin under the federal statute. While it is appropriate in
12    certain circumstances to bring a motion under Federal Rule of Civil
13    Procedure 12(b)(1) introducing extrinsic facts and challenging federal
14    court jurisdiction, it is not appropriate in the present case with the present
15    motion.
16           The problem with the defendants’ motion is that the very question
17    this Court needs to address in determining whether it has jurisdiction is
18    the same question that must be answered to determine the merits of the
19    case and whether plaintiff can prove his claims. Plaintiff alleges that the
20    defendants’ website does not comply with state and federal accessibility
21    laws. If that is true, the plaintiff wins and can obtain the injunction. If that
22    is wrong, the plaintiff loses. That is the case. The ultimate question in this
23    case is whether the defendants’ website complies with accessibility laws,
24    and is subject to accessibility laws. The defendant, however, asks this
25    Court to answer that very question in determining whether it has
26    jurisdiction. This is improper.
27           The Ninth Circuit has cautioned that courts should not apply
28    Federal Rule of Civil Procedure 12(b)(1) or 12(h)(3) when, as it is here,
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       Oppo to MTD                                        3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 18 of 20




 1    the issue of jurisdiction is intertwined with the merits of a claim. See Sun
 2    Valley Gasoline, 711 F.2d at 139-40; Safe Air for Everyone v. Meyer, 373
 3    F.3d 1035, 1039 (9th Cir. 2004); Robert v. Corrothers, 812 F.2d 1173,
 4    1177 (9th Cir. 1987) (“The relatively expansive standards of a 12(b)(1)
 5    motion are not appropriate for determining jurisdiction in a case . . . where
 6    issues of jurisdiction and substance are intertwined. A court may not
 7    resolve genuinely disputed facts where ‘the question of jurisdiction is
 8    dependent on the resolution of factual issues going to the merits.’”)
 9    (citation omitted); Rosales v. United States, 824 F.2d 799, 803 (9th Cir.
10    1987) (“[I]f the jurisdictional issue and substantive claims are so
11    intertwined that resolution of the jurisdictional question is dependent on
12    factual issues going to the merits, the district court should employ the
13    standard applicable to a motion for summary judgment and grant the
14    motion to dismiss for lack of jurisdiction only if the material jurisdictional
15    facts are not in dispute and the moving party is entitled to prevail as a
16    matter of law . . . . Otherwise, the intertwined jurisdictional facts must be
17    resolved at trial by the trier of fact.”); Rosales v. United States, 824 F.2d
18    799, 803 (9th Cir. 1987) (“A district court may hear evidence and make
19    findings of fact necessary to rule on the subject matter jurisdiction
20    question prior to trial, if the jurisdictional facts are not intertwined with
21    the merits.”).
22          Where the jurisdictional facts are intertwined with the merits, a
23    Rule 56 “summary judgment standard” applies. Roberts, 812 F.2d at 1177;
24    Careau Grp. v. United Farm Workers of Am., AFL-CIO, 940 F.2d 1291,
25    1293 (9th Cir. 1991). The question of jurisdiction and the merits of an
26    action are considered intertwined where the same statute provides the
27    basis for both the subject matter jurisdiction of the federal court and the
28    plaintiff’s substantive claim for relief. Sun Valley, 711 F.2d at 1138. The
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       Oppo to MTD                                      3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 19 of 20




 1    defense can and should bring its claims in the form of a Rule 56 motion.6
 2    Plaintiff also would need to conduct discovery in preparation for a Rule
 3    56 motion, including written discovery and depositions, especially a
 4    deposition of Elisabeth Bertolucci.
 5           Simply put, this Court should not dismiss the action at this juncture
 6    because the jurisdictional analysis is coextensive with the merits of
 7    Plaintiff’s ADA claim and a factual dispute exists as to the alleged
 8    corrections.
 9
                             II. Supplemental jurisdiction.
10
             Even if the Court dismisses the federal claim, the Court should retain
11
      supplemental jurisdiction over Plaintiff’s state claim. This is routinely done
12
      in ADA cases where the federal claim is mooted. Should federal claims be
13
      eliminated in a matter where the court had exercised supplemental
14
      jurisdiction, the court should balance the factors of judicial economy,
15
      convenience, fairness and comity in determining in determining whether
16
      to continue whether to continue to exercise such jurisdiction. Carnegie-
17
      Mellon Univ. v. Cohill, 484 U.S. 343 (1988).
18
             Numerous courts have found the exercise of supplemental
19
      jurisdiction over state law claims related to an ADA claim proper,
20
      emphasizing that the burdens of proof and standards of liability are
21
      identical for ADA and Unruh Act claims. See, e.g., Chapman v. Pier 1 Imports
22
      (U.S.) Inc., 2011 U.S. Dist. LEXIS 93451 at *20 (E.D. Cal. 2011); Johnson v.
23
      United Rental Northwest, Inc., 2011 U.S. Dist. LEXIS 77027 at *8 (E.D. Cal.
24
25    6 Additionally, the Court could convert the motion to a summary judgment
26           motion but given the fact that this case is at its earliest stage, discovery
             has not even begun, a summary judgment motion would be premature
27
             and unfair. Had plaintiff been given notice of a motion for summary
28           judgment, he would be in a positon to file a Rule 56(d) request for
             continuance of denial.
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       Oppo to MTD                                            3:21-cv-07147-WHA
     Case 3:21-cv-07147-WHA Document 27 Filed 12/27/21 Page 20 of 20




 1    2011); Johnson v. Makinen, 2009 U.S. Dist. LEXIS 60850 at *7 (E.D. Cal.
 2    2009); Johnson v. Cala Stevens Creek/Monroe, LLC 401 F.Supp.3d, 904, 906
 3    (N.D. Cal. 2019); Johnson v. Rai Rocklin Investments, LLC, 2017 WL 3421848,
 4    *1 (E.D. Cal. 2017); See also, Lentini v. Cal. Center for the Arts, Escondido, 370
 5    F.3d 837 (9th Cir. 2004) (upholding district court’s award under the Unruh
 6    Act without discussion of subject matter jurisdiction.)
 7
 8                                    V. Conclusion.
 9           Plaintiff respectfully requests that the Court deny the motion. If,
10    however, the Court is inclined to grant the motion, then Plaintiff request
11    leave to amend.
12
13
14    Dated: December 27, 2021           CENTER FOR DISABILITY ACCESS
15
                                         By: /s/ Ariel Vento                     .
16                                       Ariel Vento, Esq.
                                         Attorneys for Plaintiff
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       Oppo to MTD                                         3:21-cv-07147-WHA
